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                            AFFIDAVIT OF DANIEL CAMPBELL

       I, Daniel Campbell, state:

                                         INTRODUCTION

       1.      I have been a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (“ATF”) since 1990. I am an “investigative or law enforcement officer of the United

States” within the meaning of 18 U.S.C. §2510(7). I am currently assigned to the Boston Group

VI Field Office. As an ATF Special Agent, my duties include the investigation of violations of

federal firearms laws and drug trafficking laws.

       2.      This affidavit is being submitted in support of a criminal complaint for defendant

Jawwad Freeman for possession with intent to distribute controlled substances (fentanyl) in

violation of 21 U.S.C. §841(a)(1), possession of a firearm in furtherance of a drug trafficking

crime in violation of 18 U.S.C. §924(c), and possession of a firearm with an obliterated serial

number in violation of 18 U.S.C. §922(k).

       3.      The facts in this affidavit come from my review of records and/or reports, my

training and experience, and information obtained from other agents, officers and witnesses. This

affidavit is only intended to establish that there is probable cause for the requested complaint and

does not set forth all of the facts in regard to this ongoing investigation.

       4.      On December 13, 2019, officers from the Boston Police Department (“BPD”)

executed search warrants for the person and residence of defendant Freeman. The residence was

identified as 198 D Street, Apartment 6063, South Boston, MA. Freeman was observed exiting

198 D Street by officers, who stopped him in order to execute the state search warrants. On

Freeman’s person, officers recovered a Glock 27, Gen 4, .40 caliber pistol, loaded with 16
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rounds of .40 caliber ammunition; one round was in the chamber of the pistol. The pistol had an

obliterated serial number. The firearm has been reviewed by the ATF, and it has been

determined to have been manufactured outside of the Commonwealth of Massachusetts.

       5.      Officers executed the search warrant for Freeman’s residence and recovered

various items of evidence from a bedroom identified as Freeman’s, including: (1) documents in

Freeman’s name; (2) two plastic baggies with a substance that has tested positive for fentanyl

(with a gross weight of approximately 17 grams); and (3) a digital scale consistent with street-

level drug trafficking. The amount of fentanyl, and other evidence seized from Freeman’s

residence, is consistent with Freeman intending to distribute the fentanyl. As to Freeman’s intent

to distribute the fentanyl seized on December 13, Freeman was stopped in a vehicle by BPD

officers on July 26, 2019. Pursuant to a search incident to arrest, officers recovered a small

baggie of fentanyl and 3 oxycodone pills from Freeman’s person – consistent with Freeman

distributing those drugs. In addition, in 2019, the BPD conducted purchases of street-level

quantities of fentanyl from Freeman through the use of an undercover officer.




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       6.      Based on the evidence set forth above, there is probable cause to believe that

Jawwad Freeman violated federal law, including possession with intent to distribute controlled

substances (fentanyl) in violation of 21 U.S.C. §841(a)(1), possession of a firearm in furtherance

of a drug trafficking crime in violation of 18 U.S.C. §924(c), and possession of a firearm with an

obliterated serial number in violation of 18 U.S.C. §922(k).

       Signed electronically and sworn to via telephone in accordance with Federal Rule of

Criminal Procedure 4.1 on June 15, 2020.

                                             /s/ WtÇ|xÄ VtÅÑuxÄÄ
                                             Daniel Campbell
                                             Special Agent
                                             Bureau of Alcohol, Tobacco, Firearms &
                                             Explosives



Electronically subscribed and telephonically
sworn to before me this 15th day of June 2020



_____________________________________
HONORABLE M. PAGE KELLEY
UNITED STATES MAGISTRATE JUDGE




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